         Case 1:23-cv-01295-GLR Document 27 Filed 05/30/23 Page 1 of 1



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

KATHERINE NOVOTNY, ET AL.,                 *
                     Plaintiffs,
                                           *
             v.
                                           *       No. 1:23-cv-01295-GLR

WESLEY MOORE, ET AL.,                      *
                     Defendants.           *

     *      *       *      *       *   *       *      *     *     *    *      *

                                       ORDER

      UPON CONSIDERATION of the Consent Motion for Extension of Time to

Respond to the Complaint (the “Motion”), it is this 30th day of May, 2023, hereby




      ORDERED that the Motion is granted; and it is further


      ORDERED that the deadline for defendants to respond to the complaint is extended

to June 28, 2023.




                                                         /s
                                               ________________________
                                               George L. Russell, III
                                               United States District Judge
